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                                     UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

                                           EUGENE DIVISION



JAMES-BRENT: ALVAREZ,                                             Case No. 6:19-cv-01071-AA

                        Plaintiff,                                DEFENDANTS' RESPONSE TO
                                                                  PLAINTIFF'S MOTION FOR THE SECOND
           v.                                                     LEAVE TO AMEND COMPLAINT
                                                                  PURSUANT TO FRCP 15(b)
UNIVERSITY OF OREGON, an Oregon
Municipality; U. OF O. POLICE
DEPARTMENT, an Oregon Municipality;
LUKE SITTS, an individual; GERI
BROOKS, an individual; SCOTT
GEETING, an individual; STEVEN
BARRETT, an individual, MATTHEW
CARMICHAEL, and individual; and
MICHAEL H. SCHILL, and individual,

                        Defendants.




Page 1 -         Defendants' Response to Plaintiff's Motion for the Second Leave to Amend Complaint
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                   Defendants, the University of Oregon, the University of Oregon Police

Department ("UOPD"), Luke Sitts, Geri Brooks, Scott Geeting, Steven Barrett, Matthew

Carmichael, and Michael H. Schill (collectively, "Defendants"), respectfully request that the

Court deny plaintiff's "motion for the second leave to amend complaint pursuant to FRCP 15(b)"

dated October 7, 2019 (ECF No. 26).1

                                         I.              DISCUSSION

                   Defendants object to plaintiff's motion to amend his complaint again because

justice does not require (and should not permit) further amendment.

                   Defendants object to the motion because of plaintiff's repeated failure to cure

deficiencies in his case, the undue prejudice to defendants caused by allowing another

amendment, and futility of the amendment; all of which weigh against allowing the amendment.2


1
 Plaintiff filed a motion titled "motion for the second-leave to amend complaint pursuant to
FRCP 15(b) up-dated motion with up-dated complaint" on October 21, 2019 (ECF No. 29).
Defendants will be responding to that motion separately.
2
  Defendants also seek to correct the record regarding the parties' conferrals. In his motion,
plaintiff "certified that on October 3, 2019, plaintiff contacted counsel for the defendants by
telephone, and were [un]able to resolve the matter, as the attempt at communications was
unsuccessful." (Motion for the Second Leave to Amend Complaint Pursuant to FRCP 15(b)
at 3.) Plaintiff's LR 7-1 Certification is incorrect because, though the parties spoke on October 7,
2019, they were unable to complete the conferral before plaintiff filed the motion. Declaration
of Iván Resendiz Gutierrez ("IRG Decl.") ¶ 2. This is not first time plaintiff has
mischaracterized the parties' conferral (or lack thereof). In plaintiff's "motion for the extension
of time to reply to defendants motion to dismiss plaintiffs-complaint" dated September 20, 2019
(ECF No. 23), plaintiff certified that "on September 19, 2019, plaintiff contacted counsel for the
defendants by phone to resolve the matter described in this motion, but the parties were unable to
resolve it." (Motion for Extension of Time to Reply to Defendants Motion to Dismiss Plaintiffs-
Complaint at 3.) Plaintiff, however, did not contact defendants' counsel to confer. IRG
Decl. ¶ 3. Plaintiff did contact defendants' counsel to confer on plaintiff's "motion for the
extension of time to reply to defendants motion to dismiss plaintiffs-complaint" that he filed on
October 10, 2019 (ECF No. 27), and defendants did not object. IRG ¶ 3.




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                   Rule 15(a)(2) of the Federal Rule of Civil Procedure provides that the Court

"should freely give leave [to amend a pleading] when justice so requires." A district court,

however, may deny a motion to amend "due to . . . repeated failure to cure deficiencies by

amendments previously allowed, undue prejudice to the opposing party by virtue of allowance of

the amendment, [and] futility of the amendment." Zucco Partners, LLC v. Digimarc Corp.,

552 F.3d 981, 1007 (9th Cir. 2009) (alteration in original) (quoting Leadsinger, Inc. v. BMG

Music Publ'g, 512 F.3d 522, 532 (9th Cir. 2008)). Futility of amendment "can, by itself, justify

the denial of a motion for leave to amend." Bonin v. Calderon, 59 F.3d 815, 845 (9th Cir. 1995);

Missouri ex rel. Koster v. Harris, 847 F.3d 646, 656 (9th Cir. 2017) ("An amendment is futile

when no set of facts can be proved under the amendment to the pleadings that would constitute a

valid and sufficient claim or defense.") (internal quotation marks and citation omitted) (affirming

district court's denial of leave to amend); Carrico v. City & Cty. of San Francisco, 656 F.3d

1002, 1008 (9th Cir. 2011) (denying leave to amend due to futility).

                   In this case, this Court should not allow plaintiff to amend the first amended

complaint because justice does not require further amendment and any amendment would be

futile. Plaintiff's proposed amended complaint does include additional allegations to try to

support his claims. But the addition of more allegations does not save plaintiff's complaint from

dismissal because even with those allegations, the proposed amended complaint fails to state a

claim against any of the defendants. In some ways, the proposed second amended complaint is

even more deficient and more confusing than the first amended complaint in large part due to

plaintiff's insertion of selected language from irrelevant cases sprinkled throughout his proposed

pleading.




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                   As defendants explained in their motion to dismiss (ECF No. 20) and their joinder

in the motion to dismiss (ECF No. 21), the first claim under 42 U.S.C. § 1983 fails because it is

barred by the Eleventh Amendment to the United States Constitution. That is so because other

than plaintiff's conclusory allegations, there is no evidence that any of the events related to the

traffic stop that occurred while the UOPD officers were acting in their individual capacities. See

Pena v. Gardner, 976 F.2d 469, 472 (9th Cir. 1992), as amended (Oct. 9, 1992) ("The eleventh

amendment bars both a federal court action for damages (or other retroactive relief) brought by a

citizen against a state and such a federal court action brought by a citizen against a state official

acting in his official capacity."). Moreover, although defendant Carmichael was the UOPD

Chief of Police and defendant Schill was the University's President, the amended complaint does

not allege that either of them was involved in the traffic stop, the decision to issue citations, or

the arrest. The proposed amended complaint does not even allege that those defendants had

knowledge of those events. And it is well established that such supervisors cannot be held

vicariously liable for the conduct of other University employees. Flores v. Cty. of Los Angeles,

758 F.3d 1154, 1158 (9th Cir. 2014) ("Neither state officials nor municipalities are vicariously

liable for the deprivation of constitutional rights by employees.").

                   Even if the Section 1983 claim was not barred, the claim fails because the

individual defendants are subject to qualified immunity. See Barrett v. Williams, No. 6:11-cv-

06358, 2013 WL 6055247, at *7 (D. Or. Nov. 14, 2013) (qualified immunity shields state

officials from money damages unless a plaintiff pleads facts showing that the officials violated a

statutory or constitutional right). As noted in the defendants' motion to dismiss plaintiff's first

amended complaint filed on September 5, 2019 (ECF No. 20), defendants Carmichael and Schill




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do not appear to have been involved with plaintiff's case at all. But to the extent plaintiff alleges

they were involved and deprived him of his constitutional rights, they are entitled to qualified

immunity. See Barrett, 2013 WL 6055247, at *7.

                   The remaining three claims are also not supported by sufficient facts to proceed.

The second and third claims fail because as stated in the defendants' motion to dismiss plaintiff's

complaint and memorandum in support (ECF No. 18) (the "Motion"), plaintiff has failed to state

sufficient facts to support a claim for negligence or conspiracy to interfere with civil rights under

42 U.S.C. § 1985 and 42 U.S.C. § 1986. The fourth claim fails because, as stated in the Motion,

plaintiff has failed to state sufficient facts to support a claim under 18 U.S.C. § 2333(a)

(international terrorism).

                   Defendants acknowledge that plaintiff is proceeding pro se and that he is

attempting to cure deficiencies in his first amended complaint. We further agree that pro se

plaintiffs should generally receive the benefit of the doubt and be allowed amendments. But

Plaintiff here has already amended his complaint once with no objection from Defendants.

Further, a review of Plaintiff's proposed second amended complaint shows that allowing the

amendment will be futile.

                   If the Court allows another amendment, then the University will be forced to

expend public resources and funds continuing to litigate a meritless case.

                                        II.           CONCLUSION

                   Plaintiff's original complaint, first amended complaint, and proposed second

amended complaint continue to show that plaintiff's case is untenable against all the named

defendants. As a public institution charged with the efficient and responsible stewardship of




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public funds, the University, its police department, and all individual defendants seek through

this response to limit the expenditure of unnecessary public resources to address claims that are

not legally viable.

                   Accordingly, this Court should deny plaintiff's request for leave to amend his first

amended complaint.


                   DATED this 29th day of October, 2019.

                                                          MILLER NASH GRAHAM & DUNN LLP



                                                          s/ Ivan Resendiz Gutierrez
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                                      CERTIFICATE OF SERVICE


                   I hereby certify that I served the foregoing Defendants' Response to Plaintiff's

Motion for the Second Leave to Amend Complaint Pursuant to FRCP 15(b) on:


           James-Brent: Alvarez
           c/o 30924 Kenady Lane
           Cottage Grove, Oregon 97424
           brentalvarez78@gmail.com

           Plaintiff Pro Se

by the following indicated method or methods on the date set forth below:


                  CM/ECF system transmission.

                  E-mail. As required by Local Rule 5-10, any interrogatories, requests for
                   production, or requests for admission were e-mailed in Word or WordPerfect
                   format, not in PDF, unless otherwise agreed to by the parties.

                 E-mail courtesy only.

                  Facsimile communication device.

                  First-class mail, postage prepaid.

                  Hand-delivery.

                  Overnight courier, delivery prepaid.

               DATED this 29th day of October, 2019.



                                                                 s/ Ivan Resendiz Gutierrez
                                                                 Iván Resendiz Gutierrez, OSB No. 154617

                                                                 Of Attorneys for Defendants University of
                                                                 Oregon, et al.



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